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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


JOSEPH L. MIZZONI,
                                                       JUDGMENT IN A CIVIL CASE
                             Plaintiff,
          v.                                           Case Number: 3:15-cv-00499-MMD-VPC

STATE OF NEVADA, et al.

                             Defendants.


          Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
          the jury has rendered its verdict.

          Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
          or heard and a decision has been rendered.

 X        Decision by Court. This action came for consideration before the Court. The issues have been
          considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that the Report and Recommendation of Magistrate Judge
William G. Cobb (ECF No. 139) is accepted and adopted in full.

      IT IS FURTHER ORDERED AND ADJUDGED that Defendants’ Motion for Summary Judgment
(ECF No. 118) is granted.

        IT IS FURTHER ORDERED AND ADJUDGED that Plaintiff’s Motion for Leave (ECF No. 136)
is denied.

          IT IS FURTHER ORDERED AND ADJUDGED that judgment is hereby entered and this case is
closed.

          Date: June 15, 2018                                 DEBRA K. KEMPI
                                                              Clerk



                                                              /s/K. Walker
                                                              Deputy Clerk
